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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

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          BRYCE CARRASCO,                       :              Civil Action
                      Plaintiff,                :
    v.                                          :              Case No. 21-532 (SAG)

M&T BANK,                                       :
         Defendant.                             :
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                            MOTION TO DISQUALIFY BRIAN MOFFET

         Brian Moffet must be disqualified because he is being used by M&T to shift liability

from the lawyers who actually are responsible for the contents which get filed on various courts

dockets across the country. This court must disqualify Brian Moffet immediately–there are over

60 full time lawyers working for M&T and they have not once entered an appearance on a

federal docket, and in each lawsuit they use a lawyer like Brian to shift their liability to a third

party while they commit fraud on the court. This is established and there is evidence to

corroborate it, which Plaintiff has identified. Brian Moffet cannot be permitted to file any more

documents in this lawsuit, and the court has a duty to take this action immediately. This is one of

the largest corporations in the United States, and this court must not allow the fraud to continue

unless someone from M&T is willing to put their signature on it.


                                               *     *     *

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on September 13, 2021. /s/Bryce Carrasco.

                                              Bryce Carrasco
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